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    4   Los Angeles, California 90071
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    5   Fax (213) 489-0552
        Email: rivie@imwlaw.com
    6

    7   Attorneys for Defendants
        COUNTY OF LOS ANGELES, et al.
    8
                            UNITED STATES DISTRICT COURT
    9
                          CENTRAL DISTRICT OF CALIFORNIA
   10

   11
        KRYSTAL REYES, as Guardian ad               CASE NO.: 2:19-cv-05209-GW-KS
   12   Litem for I.R., a minor,
                                                    OBJECTION TO NOTICE OF
   13                      Plaintiff,               DEPOSITION OF DEFENDANT
              vs.                                   DEPUTY PROBATION OFFICER
   14                                               PUENTE
        COUNTY OF LOS ANGELES, LOS
   15   ANGELES COUNTY PROBATION
        DEPARTMENT, LOS ANGELES
   16   COUNTY CHIEF PROBATION
        OFFICER TERI L. McDONALD,
   17   DEPUTY PROBATION OFFICER
        PUENTE, DEPUTY PROBATION
   18   OFFICER STANCE, and DOES 1 TO
        10,
   19            Defendants
   20         Defendant Jolleen Puente hereby objects to Plaintiff’s notice of deposition of
   21   Defendant Deputy Probation Officer Puente on the grounds that the deposition was
   22   unilaterally set by Plaintiff’s counsel, without consultation with Defendant’s

   23   counsel. Defendant’s counsel is unavailable on that date.

   24
              However, Defendant’s counsel will offer dates for Officer Puente’s
        deposition for the first week of March. Those dates will be forthcoming.
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    1   Dated: February 6, 2019           IVIE, McNEILL & WYATT
    2
                                    By:   /s/ JACK F. ALTURA
    3                                     RICKEY IVIE,
                                          JACK F. ALTURA
    4
                                          Attorneys for Defendants,
    5                                     County of Los Angeles et al.
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    1                                PROOF OF SERVICE
    2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
              I am employed in the County of Los Angeles, State of California; I am over
    3   the age of 18 and not a party to the within action; my business address is 444 South
    4   Flower Street, Suite 1800, Los Angeles, California, 90071.
              On February 6, 2020, I served the foregoing document described as
    5   OBJECTION TO NOTICE OF DEPOSITION OF DEFENDANT DEPUTY
        PROBATION OFFICER PUENTE on the interested parties in this action by
    6   placing true copies thereof enclosed in sealed envelopes addressed on attached
        Service List:
    7
              [ ] BY PERSONAL DELIVERY: I caused such envelope to be
    8                 delivered by hand to the addressee.
    9         [ x ] BY EMAIL TRANSMISSION: I caused such DOCUMENT to be
                    transmitted to the addressee.
   10
              [X ] BY MAIL: I caused such envelope to be deposited in the mail at Los
   11              Angeles, California, with first class postage thereon fully prepaid. I
   12              am readily familiar with the business practice for collection and
                   processing of correspondence for mailing. Under that practice, it is
   13              deposited with the United States Postal Service on that same day, at
   14              Los Angeles, California, in the Ordinary course of business. I am
                   aware that on motion of the party served, service is presumed invalid
   15              if postage cancellation date or postage meter date is more than one (1)
   16              day after the date of deposit for mailing in affidavit.
   17         [ ]   BY FACSIMILE TRANSMISSION: I caused such documents to be
                    transmitted to the offices of the addressee via facsimile machine, on
   18               the date specified above. The facsimile machine telephone number I
   19               used, 213-489-0552, was in compliance with Rule 2003(3) and the
                    transmission was reported as complete without error. Pursuant to Rule
   20               2008(e), I caused a copy of the transmission report to be properly
   21               issued by the transmitting facsimile machine.

   22
              [ ]   BY OVERNIGHT DELIVERY: I am “readily familiar” with the
                    firm’s practice of collection and processing correspondence for
   23               Federal Express. Under that practice, it would be picked up by a
   24               representative on that same day, in the ordinary course of business and
                    would be delivered the next business day.
   25
      [✓] (Federal) I declare that I am a member of the bar of the Federal Court for the
   26     Central District of California.
   27         Executed on February 6, 2020, Los Angeles, California.
   28
              Jack F. Altura                  /s/ Jack F. Altura
                                              -3-
Case 2:19-cv-05209-GW-KS Document 29-6 Filed 02/25/20 Page 4 of 8 Page ID #:363



    1                                   SERVICE LIST
    2

    3   Justin E. Sterling, Esq.                  Attorneys for Plaintiff, Krystal Reyes
    4   Law Offices of Justin E. Sterling         as guardian ad litem for I.R., a minor
        15760 Ventura Blvd., Suite 700
    5   Encino, CA 91436
    6   (818) 995-9452
        Fax (818) 824-3533
    7   Justin@SterlingDefense.com
    8
        Erin Darling, Esq.                        Co-Counsel for Plaintiff, Krystal
    9   Law Offices of Erin Darling               Reyes as guardian ad litem for I.R., a
   10   3435 Wilshire Blvd., Suite 2910           minor
        Los Angeles, CA 90010
   11
        (323) 736-2230
   12   Erin@ErinDarlingLaw.com
   13

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    2   JACK F. ALTURA (#297314)
        jaltura@imwlaw.com
    3   IVIE, McNEILL & WYATT
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    4   Los Angeles, California 90071
        Tel. (213) 489-0028
    5   Fax (213) 489-0552
        Email: rivie@imwlaw.com
    6

    7   Attorneys for Defendants
        COUNTY OF LOS ANGELES, et al.
    8
                            UNITED STATES DISTRICT COURT
    9
                          CENTRAL DISTRICT OF CALIFORNIA
   10

   11
        KRYSTAL REYES, as Guardian ad               CASE NO.: 2:19-cv-05209-GW-KS
   12   Litem for I.R., a minor,
                                                    OBJECTION TO NOTICE OF
   13                      Plaintiff,               DEPOSITION OF DEFENDANT
              vs.                                   DEPUTY PROBATION OFFICER
   14                                               STANCE
        COUNTY OF LOS ANGELES, LOS
   15   ANGELES COUNTY PROBATION
        DEPARTMENT, LOS ANGELES
   16   COUNTY CHIEF PROBATION
        OFFICER TERI L. McDONALD,
   17   DEPUTY PROBATION OFFICER
        PUENTE, DEPUTY PROBATION
   18   OFFICER STANCE, and DOES 1 TO
        10,
   19            Defendants
   20         Defendant Serena Stance hereby objects to Plaintiff’s notice of deposition of
   21   Defendant Deputy Probation Officer Stance on the grounds that the deposition was
   22   unilaterally set by Plaintiff’s counsel, without consultation with Defendant’s

   23   counsel. Defendant’s counsel is unavailable on that date.

   24
              However, Defendant’s counsel will offer dates for Officer Stance’s
        deposition for the first week of March. Those dates will be forthcoming.
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    1   Dated: February 6, 2019           IVIE, McNEILL & WYATT
    2
                                    By:   /s/ JACK F. ALTURA
    3                                     RICKEY IVIE,
                                          JACK F. ALTURA
    4
                                          Attorneys for Defendants,
    5                                     County of Los Angeles et al.
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    1                                PROOF OF SERVICE
    2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
              I am employed in the County of Los Angeles, State of California; I am over
    3   the age of 18 and not a party to the within action; my business address is 444 South
    4   Flower Street, Suite 1800, Los Angeles, California, 90071.
              On February 6, 2020, I served the foregoing document described as
    5   OBJECTION TO NOTICE OF DEPOSITION OF DEFENDANT DEPUTY
        PROBATION OFFICER STANCE on the interested parties in this action by
    6   placing true copies thereof enclosed in sealed envelopes addressed on attached
        Service List:
    7
              [ ] BY PERSONAL DELIVERY: I caused such envelope to be
    8                 delivered by hand to the addressee.
    9         [ x ] BY EMAIL TRANSMISSION: I caused such DOCUMENT to be
                    transmitted to the addressee.
   10
              [X ] BY MAIL: I caused such envelope to be deposited in the mail at Los
   11              Angeles, California, with first class postage thereon fully prepaid. I
   12              am readily familiar with the business practice for collection and
                   processing of correspondence for mailing. Under that practice, it is
   13              deposited with the United States Postal Service on that same day, at
   14              Los Angeles, California, in the Ordinary course of business. I am
                   aware that on motion of the party served, service is presumed invalid
   15              if postage cancellation date or postage meter date is more than one (1)
   16              day after the date of deposit for mailing in affidavit.
   17         [ ]   BY FACSIMILE TRANSMISSION: I caused such documents to be
                    transmitted to the offices of the addressee via facsimile machine, on
   18               the date specified above. The facsimile machine telephone number I
   19               used, 213-489-0552, was in compliance with Rule 2003(3) and the
                    transmission was reported as complete without error. Pursuant to Rule
   20               2008(e), I caused a copy of the transmission report to be properly
   21               issued by the transmitting facsimile machine.

   22
              [ ]   BY OVERNIGHT DELIVERY: I am “readily familiar” with the
                    firm’s practice of collection and processing correspondence for
   23               Federal Express. Under that practice, it would be picked up by a
   24               representative on that same day, in the ordinary course of business and
                    would be delivered the next business day.
   25
      [✓] (Federal) I declare that I am a member of the bar of the Federal Court for the
   26     Central District of California.
   27         Executed on February 6, 2020, Los Angeles, California.
   28
              Jack F. Altura                  /s/ Jack F. Altura
                                              -3-
Case 2:19-cv-05209-GW-KS Document 29-6 Filed 02/25/20 Page 8 of 8 Page ID #:367



    1                                   SERVICE LIST
    2

    3   Justin E. Sterling, Esq.                  Attorneys for Plaintiff, Krystal Reyes
    4   Law Offices of Justin E. Sterling         as guardian ad litem for I.R., a minor
        15760 Ventura Blvd., Suite 700
    5   Encino, CA 91436
    6   (818) 995-9452
        Fax (818) 824-3533
    7   Justin@SterlingDefense.com
    8
        Erin Darling, Esq.                        Co-Counsel for Plaintiff, Krystal
    9   Law Offices of Erin Darling               Reyes as guardian ad litem for I.R., a
   10   3435 Wilshire Blvd., Suite 2910           minor
        Los Angeles, CA 90010
   11
        (323) 736-2230
   12   Erin@ErinDarlingLaw.com
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